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To The Honorable Beryl Howell,

It is my duty and responsibility, as Nick's mother, to remain focused on the people, systems and
procedures that have been adversely affected by my son's actions. The character details I can provide
are meant to assist this uncomfortable process for the betterment of all.

Nick always tested at eyebrow raising high IQ's but rigid thinking patterns and fixations never allowed
him the full benefit of higher thinking. As he got older, he struggled with conforming which is perhaps
what led to pressing identity issues and a need to “belong”. Ideals could engulf him, Gullibility
worried us as parents.

When Nick was twenty-two, he suffered life's most devastating loss as his father died of cancer. His
father understood Nick and could always reach him, redirect him if needed and encourage him in ways
Nick could respond. The irreplaceable loss of his father's influence has put Nick at risk and no doubt
played a role in his lapse of judgment on Jan 6.

Ironically, high levels of empathy are a hallmark of Nick's character. It was evident as a toddler; he
bypassed the selfish twos. He is my most caring son. He has always been well liked socially. In high
school, he befriended a desperate, drug addicted and pregnant student and arranged to mediate a
reconciliation between her and her parents knowing she needed this level of support to survive. He is
supremely capable of being a loving, caring father and husband has proven commitment to doing so

With this request for leniency comes a vow his family will insist he continues to dive deep into an
understanding of inherent personality traits that contributed to a felony conviction. The positive
empathy factor gives us grounds to expect a departure from hubris and unproductive rebellion in
exchange for equanimity, temperance and humility going forward. My solid (well earned) relationship
with Nick will serve us well as self reform is demanded. I will be supporting his family while he is
incarcerated.

Sincerely,

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